            Case 3:20-cr-00249-RS        Document 122        Filed 11/30/22    Page 1 of 1




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     Attorney for Defendant
6    ROWLAND MARCUS ANDRADE
7
8                               IN THE UNITED STATES DISTRICT COURT
9                   IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11
     THE UNITED STATES OF AMERICA,                 )   Case No.: 3:20-CR-00249-RS
12                                                 )
                   Plaintiff,                      )   NOTICE OF APPEARANCE OF
13                                                 )   COUNSEL FOR DEFENDANT
            vs.                                    )   ROWLAND MARCUS ANDRADE
14                                                 )
     ROLAND MARCUS ANDRADE,                        )
15                                                 )
                   Defendant.                      )
16                                                 )
17
     TO:    THE COURT, COUNSEL FOR THE GOVERNMENT, AND ALL INTERESTED
18          PERSONS:

19
20          PLEASE TAKE NOTICE that Cindy A. Diamond has joined the defense team for
21   defendant Andrade, as co-counsel. Ms. Diamond requests to be added to the court’s docket and
22   included in future correspondence. Ms. Diamond will work with Michael J. Shepard, who serves
23   as lead counsel for Mr. Andrade. Ms. Diamond’s contact information is listed above.
24   DATED: November 30, 2022                   Respectfully Submitted,
25                                                     /s/
                                                ____________________________________
26                                              CINDY A. DIAMOND, Esq.
                                                Attorney for Defendant
27                                              ROWLAND MARCUS ANDRADE
28

                 NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT ANDRADE
            UNITED STATES v. ROLAND MARCUS ANDRADE, Case # 3:20-CR-00249-RS - Page 1
